Case 2:18-cv-08048-SVW-JC Document 117 Filed 11/18/19 Page 1 of 3 Page ID #:4322



  1 QUINN EMANUEL URQUHART & SULLIVAN, LLP
    Alex Spiro (pro hac vice pending)
  2 alexspiro@quinnemanuel.com
    51 Madison Avenue, 22nd Floor
  3 New York, New York 10010
    Telephone: (212) 849-7000
  4
  5 QUINN EMANUEL URQUHART & SULLIVAN, LLP
    Robert M. Schwartz (Bar No. 117166)
  6 robertschwartz@quinnemanuel.com
    Michael T. Lifrak (Bar No. 210846)
  7 michaellifrak@quinnemanuel.com
    Jeanine M. Zalduendo (Bar No. 243374)
  8 jeaninezalduendo@quinnemanuel.com
    865 South Figueroa Street, 10th Floor
  9 Los Angeles, California 90017-2543
    Telephone: (213) 443-3000
 10
 11 Attorneys for Defendant Elon Musk
 12
 13                      UNITED STATES DISTRICT COURT

 14                     CENTRAL DISTRICT OF CALIFORNIA

 15
 16 VERNON UNSWORTH,                           Case No. 2:18-cv-08048

 17              Plaintiff,                    Judge: Hon. Stephen V. Wilson
 18
           vs.                                 DEFENDANT ELON MUSK’S
 19                                            WITNESS LIST
 20 ELON MUSK,
                                               Pretrial Conference: Nov. 25, 2019
 21              Defendant.                    Trial Date:          Dec. 3, 2019
 22
 23
 24
 25
 26
 27
 28

                              DEFENDANT ELON MUSK’S WITNESS LIST
Case 2:18-cv-08048-SVW-JC Document 117 Filed 11/18/19 Page 2 of 3 Page ID #:4323



   1        Pursuant to Federal Rule of Civil Procedure 26(a)(3)(A)(i)-(ii), Local Rule 16-
   2 5, and the Court’s Standing Order for Civil Cases (“Standing Order”), Defendant
   3 Elon Musk respectfully submits his Witness List for trial. Asterisks denote witnesses
   4 whom Mr. Musk anticipates calling only if the need arises.
   5        Witnesses Defendant Expects to Present
   6        1. David Arnold
   7        2. Jared Birchall
   8        3. Chris Bowman
   9        4. Steve Davis
 10         5. Armor Harris
 11         6. Elon Musk
 12         7. Woranan Ratrawiphukkun (presented by video recording of deposition)
 13         8. Sam Teller
 14         9. Vanessa Unsworth (presented by video recording of deposition)
 15         10. Vernon Unsworth
 16         11. L. Lin Wood*
 17         12. Mark Stephens*
 18         13. Ben Reymenants*
 19         14. Ray Lightfoot (Raymond Huber)*
 20
 21         Mr. Musk reserves the right to amend or supplement this list until trial in light
 22 of any case developments, including, but not limited to: (1) as necessary to
 23 overcome any evidentiary objections asserted by Plaintiff as to any of Mr. Musk’s
 24 exhibits or deposition designations; (2) if any witness listed above becomes
 25 unavailable for trial; (3) if Mr. Musk decides not to call one or more identified
 26 witnesses; (4) any change in position or theories by Plaintiff, his witnesses, or his
 27 expert; (5) any rulings by the Court on the parties’ motions limine, summary
 28 judgment motion, or other pre-trial motions, (6) Plaintiff’s responses to proposed
                                               -1-
                                DEFENDANT ELON MUSK’S WITNESS LIST
Case 2:18-cv-08048-SVW-JC Document 117 Filed 11/18/19 Page 3 of 3 Page ID #:4324



   1 stipulations of fact, and (7) any depositions or discovery that occur subsequent to the
   2 service of this list. Mr. Musk also reserves the right to call any witness, whether
   3 listed or not, live or by deposition for impeachment purposes.
   4        If any witness whom Mr. Musk intends to call live at trial becomes
   5 unavailable, Mr. Musk reserves its right to call the witness by deposition or call a
   6 substitute witness irrespective of whether that substitute witness is listed on its
   7 witness list. Mr. Musk also reserves the right to call any witness called by Plaintiff
   8 and any witness on Plaintiff’s list of trial witnesses.
   9
 10 Dated: November 18, 2019
 11
                                              QUINN EMANUEL URQUHART
 12                                           & SULLIVAN, LLP
                                              Alex Spiro
 13
                                              Robert M. Schwartz
 14                                           Michael T. Lifrak
                                              Jeanine M. Zalduendo
 15
 16
 17
                                              By:_/s/Alex Spiro_______________________
 18                                           Alex Spiro
 19                                           Attorneys for Defendant Elon Musk

 20
 21
 22
 23
 24
 25
 26
 27
 28
                                                -2-
                                DEFENDANT ELON MUSK’S WITNESS LIST
